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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:15CR3024
      vs.
                                                                 ORDER
TIARA A. BLANCO-LIGGINS,
                    Defendants.


      Defendant Blanco-Liggins has moved to continue the pretrial motion deadline,
(filing no. 56), because the defendant and defense counsel need additional time to fully
review the discovery received before deciding if pretrial motions should be filed.. The
motion to continue is unopposed. Based on the showing set forth in the motion, the court
finds the motion should be granted. Accordingly,

      IT IS ORDERED:

      1)     Defendant Blanco-Liggins’ motion to continue, (filing no. 56), is granted.

      2)     As to both defendants, pretrial motions and briefs shall be filed on or
             before May 14, 2015.

      3)     As to both defendants, trial of this case is continued pending resolution of
             any pretrial motions filed.

      4)     The ends of justice served by granting the motion to continue outweigh the
             interests of the public and the defendants in a speedy trial. Accordingly, as
             to both defendants, the additional time arising as a result of the granting of
             the motion, the time between today’s date and May 14, 2015, shall be
             deemed excludable time in any computation of time under the requirements
             of the Speedy Trial Act, because despite counsel’s due diligence, additional
             time is needed to adequately prepare this case for trial and failing to grant
             additional time might result in a miscarriage of justice. 18 U.S.C. §
             3161(h)(1), (h)(6) & (h)(7).

      April 15, 2015.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
